     Case 4:18-cv-01405 Document 3 Filed in TXSD on 05/04/18 Page 1 of 80



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICTOF TEXAS
                                     HOUSTON DIVISION



DAVID GILLESPIE,                  §
                                  §
Individually and on Behalf of all Others
   Similarly Situated,            §                   CIVIL ACTION NO. 4:18-cv-01405
                                  §
                      Plaintiffs, §
v.                                §
                                  §
STATOIL TEXAS ONSHORE             §
PROPERTIES, LLC,                  §
STATOIL PIPELINES, LLC,           §                   JURY TRIAL DEMANDED
STATOIL USA ONSHORE               §
PROPERTIES, INC., and             §
STATOIL GULF SERVICES, LLC        §
                                  §
                      Defendants. §


                         NOTICE OF DIRECTLY RELATED CASE
       COMES NOW David Gillespie, Plaintiff in the above action and pursuant to 28 U.S.C.

Rule 40.2 and Southern District Court Local Rule LR5.2, and files this Notice of Directly Related

Case and would show this Honorable Court the following:

       The following case is directly related to the instant case:
RAYANNE REGMUND, GLORIA JANSSEN, MICHAEL NEWBERRY and CAROL
NEWBERRY v. TALISMAN ENERGY USA, INC., CIVIL ACTION NO. 4:16-cv-02960

       These civil-action, class-action complaints arise out of the same transaction or occurrences

and involve defendants who were joint venture partners and are alleged to have improperly paid

oil and gas royalties on the same wells. See Plaintiff’s Original Class Action Complaint, Civil

Action No. 4:18-cv-01405, attached as Exhibit 1, and First Amended Complaint – Class Action,

Civil Action No. 4:16-cv-02960, attached as Exhibit 2. The Talisman Defendant in the previously-
     Case 4:18-cv-01405 Document 3 Filed in TXSD on 05/04/18 Page 2 of 80



filed complaint was a “joint venture” partner with the StatOil Defendants in the complaint in this

Honorable Court. Both complaints necessarily involve the same parties and are based on the same

or similar claims. The cases involve the same property and the same conduct giving rise to the

litigation. Assignment to a single judge and action is likely to conserve judicial resources and

promote an efficient determination of the actions.

                                             Respectfully submitted,

                                             THE FERGUSON LAW FIRM, LLP
                                             350 Pine Street, Suite 1440
                                             Beaumont, Texas 77701
                                             (409) 832-9700 phone
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      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 3
                                                                   1 of 80
                                                                        21




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICTOF TEXAS
                                     HOUSTON DIVISION

DAVID GILLESPIE,                         §
Individually and on Behalf of all Others §
   Similarly Situated,                   §                             4:18-cv-01405
                                                     CIVIL ACTION NO. _____________
                                         §
                            Plaintiffs,  §
v.                                       §
                                         §
STATOIL TEXAS ONSHORE                    §
PROPERTIES, LLC,                         §
STATOIL PIPELINES, LLC,                  §           JURY TRIAL DEMANDED
STATOIL USA ONSHORE                      §
PROPERTIES, INC., and                    §
STATOIL GULF SERVICES, LLC               §
                                         §
                            Defendants. §

                PLAINTIFF’S ORIGINAL CLASS ACTION COMPLAINT

       David Gillespie, (hereinafter also “Plaintiff”) by and through his undersigned counsel,

on behalf of himself and all others similarly situated, allege facts and claims upon his personal

knowledge as to matters relating to himself, and upon information and belief as to all other

matters based upon the investigation of counsel, as follows:

                                     I. INTRODUCTION

1.     This action is brought to remedy the systemic breach of contract by StatOil Texas

Onshore Properties, LLC, StatOil Pipelines, LLC, Statoil USA Onshore Properties, Inc., and

StatOil Gulf Services, LLC (hereinafter collectively “StatOil” and/or Defendants) in connection

with StatOil’s use of an improper methodology to calculate and pay Plaintiff and Class Members

contractually owed oil and gas royalties. In 2010, Talisman Energy USA, Inc. (“Talisman”) and

StatOil Texas Onshore Properties, LLC entered a joint development agreement to own and
         Case 4:18-cv-01405 Document 3
                                     1 Filed in TXSD on 05/04/18
                                                        05/02/18 Page 4
                                                                      2 of 80
                                                                           21



produce oil and gas from multiple wells and leases across the Eagle Ford, Texas area. Under

the joint development agreement, StatOil and Talisman divided the oil and gas production on a

roughly 50-50 basis. StatOil and Talisman sold their own shares of production and each paid

royalty owners for their share of the production sold.

2.         Starting in 2009, the Eagle Ford saw a remarkable rise in new rigs and new production.1

Effective August of 2013, StatOil assumed the position of authorized operator for wells in the

eastern area of operations which covered principally Karnes, DeWitt and Bee counties. Effective

April of 2016, StatOil assumed the position of authorized operator for all joint wells in all Eagle

Ford areas.

3.         StatOil lacked adequate “condensate” production data and/or other data, and therefore

improperly calculated payments due Plaintiff and others similarly situated. Much of the Eagle

Ford shale production is light and unstable “condensate,” which must be stabilized before the

product is marketable. “Condensate” refers to a lighter grade of crude oil, often produce in

conjunction with wells that produce large amounts of natural gas. Stabilization requires treatment,

usually in the form of heating and pressurization, to remove the volatile and lighter elements—

principally methane and other natural gas liquids. These lighter elements, known as “flash gas,”

can be collected and reintroduced back into the natural gas stream for subsequent processing and

sale. Many times, removal of “flash gas” results in 30% or more of the initial condensate volume

measured at the well separator to shrink into the final stabilized volume suitable for sale. StatOil

and its joint venture, Talisman, constructed over a dozen different batteries or central facilities

sometimes referred to as Central Delivery Points (“CDP’s) or Central Receipt Points (“CRP’s”) to

perform this necessary processing.



1
    See https://www.eia.gov/petroleum/drilling/pdf/eagleford.pdf
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 5
                                                                   3 of 80
                                                                        21



4.      Initial processing occurs at the separator near the well where the raw stream is split into

water, oil, condensate, and gas. The oil/condensate and gas are measured at a meter installed at

the tail-end of the separator. Additional processing occurs between this point of measurement and

measurement at the point of sale.        Between that processing and natural evaporation of

condensate/oil, there is typically a reduced volume measured at the sales meter, with the difference

referred to as “shrinkage.” Because the final measurement point is at the sales meter, the

accounting function must proportionally allocate production back to the wells for the purpose of

properly calculating royalty. In many cases, 20%, 30%, or more of the initial condensate volume

is shrunk as a result of treatment.

5.      StatOil’s lack of a proper methodology (due to a lack of condensate production data)

resulted in both it and Talisman improperly calculating payments due royalty owners including,

inter alia, Plaintiff David Gillespie.

                                          II. PARTIES

6.      Plaintiff David Gillespie is a citizen of Texas and resident of Bexar County, Texas. Mr.

Gillespie owns lease interests entitling him to royalty payments on the actual oil and gas produced

from wells operated by StatOil and/or Talisman. Plaintiff Gillespie entered into an oil and gas

lease agreement with StatOil and/or Talisman for the development, production, and sale of oil and

gas in Texas. Since that time, Plaintiff Gillespie has been underpaid royalties as a result of the

improper payment methodology employed by StatOil.

7.      StatOil Texas Onshore Properties, LLC (“StatOil Texas”), upon information and belief, is

and has been at all times material and relevant herein, a for-profit corporation organized and

existing under the laws of the State of Delaware with its principle place of business in Houston,

Texas. Defendant StatOil USA may be served with process through its registered agent, Capitol
       Case 4:18-cv-01405 Document 3
                                   1 Filed in TXSD on 05/04/18
                                                      05/02/18 Page 6
                                                                    4 of 80
                                                                         21



Corporate Services, Inc., 206 E. 9th Street, Suite 1300, Austin, Texas 78701. Plaintiff has requested

a waiver of summons from this Defendant.

8.      StatOil Pipelines, LLC (“StatOil Pipelines”), upon information and belief, is and has been

at all times material and relevant herein, a for-profit corporation organized and existing under the

laws of the State of Delaware with its principle place of business in Houston, Texas. Defendant

StatOil USA may be served with process through its registered agent, Corporation Service

Company d/b/a CSC – Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,

Austin, Texas 78701. Plaintiff has requested a waiver of summons from this Defendant.

9.      StatOil USA Onshore Properties, Inc. (“StatOil USA”), upon information and belief, is and

has been at all times material and relevant herein, a for-profit corporation organized and existing

under the laws of the State of Delaware with its principle place of business in Houston, Texas.

Defendant StatOil USA may be served with process through its registered agent, Corporation

Service Company d/b/a CSC – Lawyers Incorporating Service Company, 211 E. 7th Street, Suite

620, Austin, Texas 78701. Plaintiff has requested a waiver of summons from this Defendant.

10.     StatOil Gulf Services, LLC (“StatOil Gulf”), upon information and belief, is and has been

at all times material and relevant herein, a foreign limited liability corporation conducting business

in the State of Texas. Defendant StatOil Gulf may be served with process through its registered

agent, Corporation Service Company, as reflected in the Texas Secretary of State records, at 211

E. 7th Street, Suite 620 Austin, Texas 78701-3218. Plaintiff has requested a waiver of summons

from this Defendant.

                                      III. JURISDICTION

 11.    This Court has jurisdiction over Plaintiff’s claims pursuant to Title 28 U.S.C. §1332(d).

 Diversity jurisdiction exists and Plaintiff resides in Texas. The Class consists of citizens and
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 7
                                                                   5 of 80
                                                                        21



 residents having oil and gas rights for property including leases involving StatOil. The amount in

 controversy exceeds $5,000,000.00 for Representative Plaintiffs and members of the Class

 collectively, exclusive of interests and costs, by virtue of the amount of royalties StatOil failed to

 pay pursuant to its contractual obligations, and by virtue of the declaratory relief sought.

                                           IV. VENUE

12.     Venue is proper in the Southern District of Texas, Houston Division, where Plaintiff’s

wells at issue are located and Plaintiff Gillespie, along with certain of Class Members, reside.

Venue is proper in this district pursuant to Title 28 U.S.C. 1391(b)(2) because a substantial part of

the events or omissions giving rise to Plaintiff’s claims occurred in this federal district.

                                             V. FACTS

13.     Plaintiff and Class Members own royalty rights and interests arising from oil and gas leases

in the South Texas Eagle Ford shale play ("Eagle Ford"). These royalty interest owners include

individuals, partnerships, trusts, corporations and other entities residing both in Texas, and

throughout the United States that own leases in the Eagle Ford. Statoil was established as a wholly-

state owned oil company in 1972. Reform in 1985 made it possible to consider the ownership

structure of StatOil and apply for public listing. This reform marked the start of a process leading

up to the public listing of StatOil in 2001. Norsk Hydro ASA (“Hydro”) was founded in 1905 as

a private company. Hydro-electric development at the beginning of the 20th century laid the basis

for industrial growth in Norway and for Hydro’s business concept, which was the production of

nitrogen fertilizer. Hydro entered the oil and gas industry in 1963, and in October of 2007, merged

with StatOil. Today, StatOil is a Norwegian-based energy company with operations in more than

thirty (30) countries.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 8
                                                                   6 of 80
                                                                        21



14.    Talisman is an upstream oil and gas production company and an indirect subsidiary of

Calgary, Alberta-based Talisman Energy Inc., ("TEI") which was acquired for approximately $13

billion by an affiliate of the Spanish integrated energy company Repsol S.A. on May 8, 2015. In

2010, Talisman and StatOil entered a joint development agreement to own and produce oil and gas

from multiple wells and leases across the Eagle Ford, Texas area. Under the joint development

agreement, StatOil and Talisman divided the oil and gas production on a roughly 50-50 basis.

StatOil actually identifies the Eagle Ford play on its website. StatOil and Talisman sold their own

shares of production and each paid royalty owners for their share of the production sold. By

entering into a joint venture, StatOil became jointly and severally liable for payments made to

royalty owners.

15.    In Texas, gas and oil leases permit royalty payments to be calculated based on the amount

of gas or oil as determined either at the wellhead or the amount that enters the pipeline for sale and

may be based on production of oil and gas, or sales of the produced oil and gas.

16.    The production of oil, condensate and natural gas at a well site is measured daily at the

wellhead by a meter.

17.    Pursuant to Texas oil and gas law, the operating entity is responsible for reporting all

required well production data to Texas Comptroller of Public Accounts (hereinafter “Texas

Comptroller”). Title 16, TEX. NAT. RES. CODE. Reports to the Texas Comptroller include both

volumes sold and revenues received, by product reported.

18.    Texas law also requires that any entity paying oil and gas royalties must accompany the

payment with a check stub from the payor containing details, inter alia, of well identification,

volume of production, price, decimal interest (the royalty owner's share of production from the

drilling unit), expense deductions and taxes. TEX. NAT. RES. CODE §§91.501-91.502. The required
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 9
                                                                   7 of 80
                                                                        21



check stub detail is intended to allow the royalty recipient to verify that the payment accords with

the payor’s obligation under applicable leases.

19.    In 2010, Talisman entered the Texas oil and gas market and opened a Texas office whereby

it acquired extraction rights under numerous oil and gas leases in the Eagle Ford shale including

those owned by Plaintiff and the Class Members. Talisman also entered into the South Texas Joint

Development Agreement (the “Development Agreement”), which created a joint venture between

Talisman and Statoil to explore, develop and produce oil and gas. Statoil also owns extraction

rights under numerous oil and gas leases in the Eagle Ford.

20.    The Development Agreement obligated the well operator, including StatOil, to report all

well production data to the non-operating partner in a manner consistent with and as required by

the Texas Comptroller, so that both the operator and non-operating partner could comply with

Texas law governing royalty payments, expenses, adjustments and deductions thereto and

documentation including check stubs to mineral rights owners.

21.    Under the Development Agreement, StatOil and Talisman agreed to divide the oil and gas

production on a 50-50 basis.    StatOil and Talisman sell their own share of the production, are

required to properly report their half of the volumes to royalty owners, and must properly pay

royalty owners.

22.    Plaintiff and Class Members are owners of the royalty rights for oil and gas leases in Eagle

Ford that establish their rights to properly calculated royalty payments. The Development

Agreement did not change Plaintiff’s or Class Members’ rights to proper royalty payments.

23.    Initially, Talisman acted as operator for all of the Eagle Ford joint venture acreage, with

Statoil retaining a non-operating working interest. While the operator of record, StatOil and/or
      Case
      Case4:18-cv-01405
           4:18-cv-01405 Document
                         Document31 Filed
                                    Filedin
                                          inTXSD
                                            TXSDon
                                                 on05/04/18
                                                   05/02/18 Page
                                                            Page10
                                                                 8 of
                                                                    of21
                                                                       80



Talisman were responsible for accurately reporting the oil and gas production to the Texas Rail

Road Commission and state Comptroller.

24.    While the operator and/or joint venture partner with Statoil, Talisman began in late 2012

to commingle the gross production of oil, condensate and gas from various wells of differing

ownership, including Plaintiff’s wells, using extensive gathering and treatment facilities referred

to as Central Gathering Points, Central Deliver Points and/or Central Receipt Points.

25.    StatOil’s joint venturer, Talisman, has admitted that when it entered the Texas oil and gas

market, it did not have the capability to manage the complexities of the leases it was purchasing

and entering into and its production accounting system was incapable of proper allocation of

commingled oil and gas production and sales.

26.    Effective July 1, 2013, StatOil and Talisman modified their Joint Development Agreement

so as to divide responsibility for drilling and operating wells in the joint venture acreage, including

those in which Plaintiff and Class Members owned royalty interests.

27.    According to the Joint Development Agreement modification effective July 1, 2013,

Talisman continued operating wells within the western and central portion of the shared holdings,

and StatOil agreed to operate the wells in the eastern portion of the shared acreage. However,

Talisman continues to market its own share of production and maintain a revenue accounting

function to account for the revenues received from sales of production and allocate revenues back

to each owner on a per-well basis.

28.    In December of 2015, StatOil and Talisman further amended the Joint Development

Agreement to provide that Statoil now serves as operator for all wells within the joint venture

acreage, with Talisman retaining a non-operating working interest.
      Case
      Case4:18-cv-01405
           4:18-cv-01405 Document
                         Document31 Filed
                                    Filedin
                                          inTXSD
                                            TXSDon
                                                 on05/04/18
                                                   05/02/18 Page
                                                            Page11
                                                                 9 of
                                                                    of21
                                                                       80



29.    Unbeknownst to Plaintiff and Class Members, StatOil and Talisman’s joint decision to

commingle gross oil and gas production from wells of differing ownership interest created certain

challenges when allocating the commingled sales of those production volumes back to the

individual wells. Texas law requires that a “commingler” identify each royalty owner’s aliquot

share of production commingled and sold with reasonable certainty. StatOil and its joint venturer,

Talisman, did not properly allocate these commingled sales of those production volumes.

30.    In addition to their commingling and allocation problems, StatOil and Talisman jointly

reduced the measured volumes of gas and oil by an across-the-board skim (the “Skim”). StatOil

and Talisman used gross production volumes of condensate reduced by as much as 30% to estimate

net sales of condensate then improperly allocated those volumes back to the individual wells

before improperly paying royalty owners, like Plaintiff, on the improperly shrunken volumes.

31.    The issues with joint venturer StatOil’s and Talisman’s commingling, allocating and

shrinking were not clear to or discoverable by Plaintiff or royalty owners. While the Joint

Development Agreement required StatOil and Talisman to share production and pay royalties on

a 50-50 basis, the information and format of Talisman’s check stubs were different from the

information and format of Statoil’s check stubs and for production and production adjustments

during different time periods than those reflected on check stubs, it was difficult, if not

impossible, for Plaintiff and Class Members to determine the net difference, let alone the reason

for the net difference, in royalty payments.

32.    StatOil’s joint venture, Talisman, has admitted to reducing Plaintiff’s and Class Members’

royalty payments based on “shrinkage.” Talisman has also admitted that if it could not justify its

lower production volume, so both StatOil and Talisman, via joint venture, would be legally
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 12
                                                                   10 of 80
                                                                         21



responsible to make additional royalty payments to royalty owners pursuant to their respective

lease agreements.

33.     In response to royalty owner’s questions regarding the difference in the royalty payments

between Talisman and Statoil, Talisman explained away the Skim by contending that in

transporting and marketing oil, certain volumes of condensate (light oil) do not qualify for royalty

payments because they are lost to “shrinkage.”

34.     In the oil and gas industry, shrinkage refers to the difference between production amounts

produced at the wellhead entering a pipeline for sale. Shrinkage attributable to a given well is not

a static percentage. There is no domestic oil industry standard or common practice which allows

for application of a fixed shrinkage factor to estimate sales. Moreover, based upon information

and belief, StatOil’s joint venturer, Talisman’s own personnel, concluded shrinkage, if applicable,

could never approach the 20% Skim, and certainly never 30%.

35.     Any reduction of royalty payments under a mineral rights lease must be permitted and

justified, either from actual measurement or established American domestic oil industry standards.

Plaintiff’s and Class Members’ materially similar lease provisions require joint venturers StatOil

and Talisman     to pay on actual     sales not estimated, commingled, allocated, shrunken       or

calculated net sales volumes as done here.

36.     Regardless whether the production volume is measured at the well head, after separation,

or at the point of sale, under no circumstances do the applicable leases permit the aforementioned

Skim.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 13
                                                                   11 of 80
                                                                         21



37.    In employing the Skim for the purpose of shorting royalty payments to Plaintiff and Class

Members, StatOil and its joint venturer Talisman engaged in actions that were arbitrary,

capricious, and in bad faith.

38.    StatOil and its joint venturer Talisman has        also arbitrarily manipulated production

volumes and royalty payments from joint venture wells operated by Talisman and reported

shrunken and improperly allocated net sales volumes to the Texas Rail Road Commission and

State Comptroller.

39.    Complaints were made about the discrepancies between royalty checks from StatOil and

Talisman, but only misleading explanations were provided.

           VI. EQUITABLE TOLLING AND FRAUDULENT CONCEALMENT

40.     StatOil and its joint venturer Talisman arbitrarily and unilaterally manipulated royalty

owner payments by estimating sales volumes through the shrinking of gross production volumes

and improperly allocating commingled production and net sales volumes.

41.     StatOil and its joint venturer Talisman intentionally concealed the actions herein

described in the forgoing paragraphs to ensure the continuation of those activities and forestall

legal action.

42.    Without access to the Joint Development Agreement, well production, run sheets and

gauge reports, and StatOil’s and Talisman’s sale and distribution agreements, Plaintiff and Class

members alike would be both unable to determine the extent and nature of StatOil’s and its joint

venturer Talisman’s wrongful conduct or the financial harm suffered because of such conduct.

None of these documents critical to exposing StatOil’s and its joint venturer Talisman’s wrongful

conduct were given to Plaintiff or Class Members. Thus, Plaintiff and Class Members were left

inadequate information. Moreover, Statoil and Talisman did not simply disclose its commingling,
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 14
                                                                   12 of 80
                                                                         21



allocating and estimating to Plaintiff and Class Members. Moreover, StatOil and Talisman

concealed or obfuscated such information such that neither Plaintiff nor Class Members could

reasonably ascertain the issues discussed herein.

43.       By its very nature, StatOil’s and its joint venturer Talisman’s activity, as alleged herein,

was self-concealing. Plaintiffs had no knowledge of StatOil’s and its joint venturer Talisman’s

deceitful conduct and could not have discovered same by the exercise of due diligence.

44.       As a result of StatOil’s and its joint venturer Talisman’s fraudulent concealment of its

conduct, and the self- concealing nature of their acts, Plaintiff asserts the tolling of the applicable

statute of limitations affecting the rights of the causes of action asserted by Plaintiff and Class

Members.

45.       StatOil is equitably estopped from asserting that any otherwise applicable limitations

period has run.

                                    VII. THE DISCOVERY RULE

46.       Plaintiff did not discover, nor should Plaintiff have reasonably discovered, StatOil’s and

its joint venturer Talisman’s wrongful conduct causing their injuries until recently, prior to the

filing of this complaint.

47.       Plaintiff did not discover, nor should Plaintiff reasonably have discovered, (1) the injuries

and (2) the identity of the person(s) whose wrongful conduct caused the injuries, until recently,

prior to the filing of this complaint.

48.       The discovery rule applies to toll the statute of limitations as to all causes of action against

StatOil and its joint venturer Talisman, and other responsible parties identified by discovery in this

matter.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 15
                                                                   13 of 80
                                                                         21



                             VIII. CLASS ACTION ALLEGATIONS

49.     This action asserts claims on behalf of a class pursuant to Federal Rules of Civil Procedure

23(a), (b)(l), (b)(2), (b)(3), and (c)(4) as follows:

       All persons who, pursuant to an oil and gas lease within the Texas, Eagle
       Ford Shale, received between January 1, 2010 and May 4, 2018 royalty payments
       from StatOil and/or its joint venturer Talisman attributable to production, including
       but not limited to, gas, oil, condensate and all hydrocarbons separated,
       extracted or manufactured from gas that was commingled with production from
       one or more other wells, and to whom StatOil and/or its joint venturer Talisman
       paid such royalties using a volumetric allocation methodology of net production
       sold and/or estimated ”shrunk” production volumes.

50.     Excluded from the Class are (i) StatOil and its employees, principals, affiliated entities,

legal representatives, successors and assigns; and (ii) the judges to whom this action is assigned,

any members of their immediate families, (iii) and any clerk or staff assigned to those judges.

51.     There are thousands of potential members of the Class who are geographically dispersed

throughout the United States. Therefore, individual joinder of all members of the Class would be

impractical.

52.     There is a well-defined community of interest in the questions of law and fact affecting the

parties represented in this action.

53.     Common questions of law or fact exist as to all members of the Class. These questions

predominate over the questions affecting only individual Class members. The predominate legal

and factual questions in this case include, but are not limited to:

         a. Whether the Skim Scheme methodology was applied to Plaintiff and all Class
            Members alike, and whether that Skim Scheme’s methodology reduced
            royalty payments due Plaintiff and all Class Members.

         b. Whether StatOil and/or its joint venturer Talisman voluntarily commingled
            the gross oil and gas production of multiple wells with differing ownership
            interests;
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 16
                                                                   14 of 80
                                                                         21



        b.    Whether StatOil and/or its joint venturer Talisman can identify with
             reasonable certainty each royalty owner’s aliquot share of gross production
             and resulting net sales;

        c. Whether StatOil and/or its joint venturer Talisman improperly allocated net
           sales back to the individual wells in violation of industry standards and
           common practice:

        d.    Whether StatOil and/or its joint venturer Talisman used an industry
             accepted standard or practice when they estimated nets sales of condensate
             by use of a common methodology to arbitrarily reduce production volumes
             of oil and gas;

        e. Whether StatOil’s and/or its joint venturer Talisman’s application of a 20%-
           30% Skim in calculating royalties to Class Members was justified, either
           from actual measurement or established American domestic oil industry
           standards;

        f. Whether StatOil and/or its joint venturer Talisman breached the materially
           similar lease provisions of Plaintiff and Class Member regarding the
           volumes for which royalty payments are made;

        g. Whether the commingling, allocating and arbitrary shrinking of production
           volumes of oil and gas resulted in reduced royalty payments to Plaintiff and
           Class Members;

        h. Whether StatOil and/or its joint venturer Talisman disclosed, accounted for
           and reported correctly to Plaintiff and Class Members the volumes of oil and
           gas production on which it owed royalties;

        1. Whether StatOil’s and/or its joint venturer Talisman’s commingling gross
           production, allocating net sales and use of the Skim violated its duties to
           Plaintiff and Class Members to honestly account for and pay royalties;

        J. Whether the check stubs furnished by StatOil and/or its joint venturer
           Talisman with royalty payments complied with Texas law; and

        k. The appropriate measure of damages, penalties, interest, equitable and/or
           declaratory relief.

54.   The Skim Scheme methodology applied to Plaintiff and all Class Members alike. The Skim

Scheme’s calculation is one of a simple methodology that applies an across-the-board number to
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 17
                                                                   15 of 80
                                                                         21



Plaintiff and all Class Members. Under well settled law, variances in the amount of damages of

individual class members do not preclude class certification.

55.      Plaintiff’s claims are typical claims of the Class in that Plaintiff has materially

 similar lease agreements as other members of the class entitling them to royalty payments from

 the gross production volume sold. Plaintiff’s claims are also not subject to any unique defenses.

 Therefore, there are no significant differences in any relevant respect from any other Class

 member, and the relief sought is common to the Class.

56.      Plaintiff is an adequate representative of the Class because he has no interests adverse to

or in conflict with members of the Class he seeks to represent, and he has retained counsel

competent and experienced in conducting complex class action litigation, and litigation regarding

the rights of mineral owners. Plaintiff and his counsel will adequately protect the interests of the

Class.

57.       StatOil and its joint venturer Talisman have engaged in a pattern of misconduct common

to the entire Class so that class-wide relief is appropriate.

58.      The common pattern of StatOil’s and joint venturer Talisman’s misconduct and the

common theories for redressing that misconduct make a class action superior to other available

methods for fairly and efficiently adjudicating the underlying dispute. The damages suffered

by each individual Class Member         on balance     are relatively   small, while the burden   and

monetary expense needed to individually prosecute this case against StatOil is substantial.

Thus, it would be virtually impossible for Class Members individually to redress effectively

the wrongs done to them. Moreover, even if Class Members could afford individual actions, a

multitude of such individual actions still would not be preferable to class-wide litigation.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 18
                                                                   16 of 80
                                                                         21



59.    By contrast, a class action presents far fewer litigation management difficulties, and

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court. The class is readily definable and prosecution as a class action will eliminate

the possibility of repetitious litigation while also providing redress for those claims that may be

too small to warrant the expenses of individual, complex litigation. Also, or in the alternative, the

Class may be certified because     StatOil   has acted or refused      to act on grounds    generally

applicable to the Class, thereby making preliminary and final declaratory relief appropriate.

60.    In addition, the maintenance of separate actions would place a substantial and

unnecessary burden on the courts and could result in inconsistent adjudications, which would

be dispositive of at least some of the issues and hence interests of the other members not party

to the individual actions, would substantially impair or impede their ability to protect their

interests, and would establish incompatible standards of conduct for the party opposing the

Class. A class action can determine the legality of Defendants’          actions relative to all class

members with judicial economy.

61.    Further, in the alternative, the Class may be maintained as a class action with respect to

particular issues pursuant to FED.R.CIV.P. 23(c)(4).

62.    All records concerning each of the leases, volumes of gas and oil production, and royalty

payments from StatOil are in the possession and control of StatOil and its agents and are available

through discovery.

                                          IX. CLAIMS
                                           COUNT 1
                                          BREACH OF
                                          CONTRACT

63.    Plaintiff incorporates by reference all preceding paragraphs.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 19
                                                                   17 of 80
                                                                         21



64.    Plaintiff and Class Members executed valid and enforceable contracts in the form of oil

and gas leases, directly or through assignments, with StatOil.

65.     Plaintiff, as party to the lease and assignments, is the proper party to enforce the terms of

the relevant leases and assignments and has performed, or has substantially performed, all

necessary conditions precedent, dependent obligations, and/or dependent covenants owed under

the relevant leases and assignments.

66.    Pursuant    to the materially     similar   terms   of Plaintiff’s   and   Class   Members'

applicable oil and gas leases, StatOil promised to make royalty payments based on the actual

production volume of gas and oil sold.

67.     Plaintiff and Class Members are, and have been, entitled to StatOil’s performance

of its obligations under the relevant leases and assignments to make royalty payments based on

the actual production volume of gas and oil sold.

68.     StatOil materially    breached the gas and oil leases applicable to Plaintiff and Class

Members by paying royalty owners based on estimated production volumes sold as a result of

StatOil improperly allocating net sales from commingled production and applying the Skim to

gross production volumes and thereby reducing the royalty payments owed to Plaintiff and Class

Members.

69.     StatOil has refused and continues to refuse to perform its obligations to pay Plaintiff and

Class Members royalty payments based on the actual production volumes of gas and oil sold as

required by the applicable lease agreements.

70.    As of the filing of this Complaint Statoil has not tendered the amounts owed to Plaintiff or

Class Members.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 20
                                                                   18 of 80
                                                                         21



71.     Defendants have materially breached its contractual obligations to Plaintiff and

Class Members, including the express terms set out above in the Facts. Examples of such breaches

include but are not limited to the following:

           a. Through the Skim Scheme, reducing production volumes of oil, or liquid or
              liquefiable hydrocarbons and/or natural gas produced from the relevant lands
              by approximately 20% - 30% without notice or contract support under the existing
              oil and gas lease contracts;

           b. Failing to pay the agreed royalty payments for oil or liquid or liquefiable
              hydrocarbons produced and sold from the relevant lands as provided for in their oil
              and gas lease;

           c. Failing to pay royalties on all oil, condensate and gas produced and sold from
              the relevant lands as provided for in their oil and gas lease; and

           d. Refusing to provide Plaintiffs, among other materials, relevant and related
              records and data pertaining to the production, transportation, sale, and marketing
              of the production from the relevant lands.

72.     As a direct and proximate cause of StatOil’s     contractual breaches, Plaintiff and Class

Members      have been damaged        for which they are entitled to recover       actual damages,

consequential damages, interest, penalties, attorneys’ fees, and any other legal or equitable relief

deemed appropriate by the Court.

                                           COUNT 2
                                         ACCOUNTING

73.    Plaintiff incorporates by reference all preceding paragraphs.

74.     Damages alone will not compensate Plaintiff and Class Members for their collective loss

of royalty payments consistent with their oil and gas lease contracts. The facts and accounts

presented are so complex that adequate relief may not be obtained at law. Standard discovery

procedures, such as requests for production, interrogatories, and subpoenas duces tecum, may
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 21
                                                                   19 of 80
                                                                         21



prove inadequate to provide Plaintiff and Class Members with the information sought regarding

royalty payments.

75.    Plaintiff and Class Members seek an accounting pursuant to the information required under

Texas Natural Resources Code Section 91, et seq. as follows:


               a. For past and present monthly production volumes of oil, liquids, condensate,
                  liquefied hydrocarbons and natural gas by well for Plaintiff and Class Members as
                  reported to the Texas Comptroller or other state or federal agency, to royalty
                  owners by StatOil, as recorded by any third-party vendor contracted by StatOil to
                  test, sample or record such volumes;

               b. For past and present royalty payments made to Plaintiff and Class Members on the
                  production of oil, liquids, condensate, liquefied hydrocarbons and natural gas
                  production volumes, and substances; and
               c. For past and present deductions by category of expense or other deductions
                  including but not limited to deductions for “shrinkage,” and for past and present
                  information supporting any deduction or expense from or to production volumes
                  or royalty payments.

                                             COUNT 3
                                             UNJUST
                                           ENRICHMENT

76.     Plaintiff incorporates by reference all preceding paragraphs. This Count is brought in the

alternative.

77.     StatOil has been unjustly enriched because of the Skim Scheme, commingling, improperly

allocating, shrinking and underpayment of royalties owed to Plaintiffs and Class Members as

described herein.

78.      Plaintiff and Class Members, in justice and fairness, are entitled to restitution of all

underpayments of royalties caused by such wrongful acts and omissions which unjustly enriched

StatOil, recovery of reasonable attorneys’ fees, recovery of statutory penalties and interest as

provided at Tex.Nat.Res. Code §§91.401 ~ 91.404, punitive damages and any and all other

equitable relief deemed appropriate by the court.
      Case 4:18-cv-01405 Document 3
                                  1 Filed in TXSD on 05/04/18
                                                     05/02/18 Page 22
                                                                   20 of 80
                                                                         21



                                             COUNT 4
                                          DECLARATORY
                                            JUDGMENT

79.    Plaintiff incorporates by reference all preceding paragraphs.

80.    Plaintiff and Class Members are entitled to a declaratory judgment: (a) declaring StatOil

liable to Plaintiff and Class Members for the wrongful acts, omissions, practices, and schemes

described above, (b) ordering StatOil to provide complete and accurate check stub information, as

required by TEX.NAT.RES. CODE §91.502, (c) granting Plaintiff and Class Members such other or

additional declaratory and/or injunctive relief relating to such wrongful acts, omissions, practices,

and financial/accounting schemes as may be available under the law and deemed appropriate by

the Court, and/or (f) awarding attorneys’ fees as provided for by contract or pursuant to

TEX.NAT.RES. CODE §91.406, and TEX.CIV.PRAC. & REM. CODE 38.001 et seq.

                        X. REQUEST FOR RELIEFAND PRAYER

81.     WHEREFORE, Plaintiff, on behalf of himself and on behalf of all other Class Members,

request an award and relief as follows:

           a. An order certifying that this action is properly brought and may be maintained as a
              class action, that Plaintiff be appointed Class Representative, and undersigned
              counsel be appointed Class Counsel;

           b. A determination that StatOil breached obligations owed to Plaintiff and Class
              Members;

           c. A declaration and Order providing the other declaratory and injunctive relief
              requested throughout this Complaint;

           d. An Order requiring StatOil to provide an accounting of past and present royalty
              payments for Plaintiff and Class Members;

           e. Actual and consequential damages in an amount to be determined at trial;

           f. Applicable statutory penalties for Claims for which they are available;

           g. Punitive damages for Claims for which they are available;
Case 4:18-cv-01405 Document 3
                            1 Filed in TXSD on 05/04/18
                                               05/02/18 Page 23
                                                             21 of 80
                                                                   21



    h. Equitable and/or declaratory relief for Claims for which they are available;

    i. An order awarding Plaintiffs their costs of suit, including reasonable attorneys’ fees
       and pre-and post-judgment interest at the highest rate allowed by law;

    j. An order declaring that StatOil is financially responsible for notifying all Class
       Members of this action; and

    k. Such other and further relief as may be deemed necessary or appropriate.

                        XI. DEMAND F O R JURY TRIAL

  Plaintiff hereby demands a trial by jury on all issues so triable.

                                        Respectfully Submitted,

                                        THE FERGUSON LAW FIRM, LLP
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                                        Beaumont, Texas 77701
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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                                                  04/24/18 Page
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                                                                      23
Case 4:18-cv-01405
     4:16-cv-02960 Document 3
                            61 Filed
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                                                  04/24/18 Page
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case 4:18-cv-01405
     4:16-cv-02960 Document 3
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Case4:16-cv-02960
     4:18-cv-01405 Document
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case4:16-cv-02960
     4:18-cv-01405 Document
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Case4:16-cv-02960
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Case4:16-cv-02960
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Case 4:16-cv-02960
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                   Document 61-1
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Case
Case 4:16-cv-02960
     4:18-cv-01405 Document
                   Document 61-1
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Case
Case 4:16-cv-02960
     4:18-cv-01405 Document
                   Document 61-1
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 Case4:16-cv-02960
      4:18-cv-01405 Document
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 Case4:16-cv-02960
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 Case4:16-cv-02960
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 Case4:16-cv-02960
      4:18-cv-01405 Document
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 Case4:16-cv-02960
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 Case4:16-cv-02960
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 Case4:16-cv-02960
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 Case4:16-cv-02960
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 Case4:16-cv-02960
       4:18-cv-01405 Document
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 Case4:16-cv-02960
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 Case4:16-cv-02960
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 Case4:16-cv-02960
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Case
 Case4:16-cv-02960
       4:18-cv-01405 Document
                      Document61-2
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 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                     04/24/18Page
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                                                                  652ofof80
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Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
                                                     04/24/18Page
                                                               Page
                                                                  663ofof80
                                                                          17
Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
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                                                                  674ofof80
                                                                          17
Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
                                                     04/24/18Page
                                                               Page
                                                                  685ofof80
                                                                          17
Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
                                                     04/24/18Page
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                                                                  696ofof80
                                                                          17
Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
                                                     04/24/18Page
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                                                                  707ofof80
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Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
                                                     04/24/18Page
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                                                                  718ofof80
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Case
 Case4:16-cv-02960
      4:18-cv-01405 Document
                     Document61-3
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                                                   05/04/18
                                                     04/24/18Page
                                                               Page
                                                                  729ofof80
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Case
 Case4:16-cv-02960
       4:18-cv-01405 Document
                      Document61-3
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